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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 CATALYST PHARMACEUTICALS, INC. and
 SERB SA,

                        Plaintiffs,

                        v.                               Civil Action No. 2:23-cv-22461

 INVENTIA HEALTHCARE LIMITED
                        Defendant.



                                      CONSENT JUDGMENT

       Catalyst Pharmaceutical, Inc. (“Catalyst”), SERB SA (“SERB”) and Inventia Healthcare

Limited (“Inventia”), parties in the above-captioned action, have resolved this litigation for good

cause and valuable consideration recognized by Catalyst, SERB, and Inventia. Now the parties,

by their respective undersigned attorneys, hereby stipulate and consent to entry of judgment and

an injunction in the action, as follows:

               IT IS this ___VW__ day of ___$XJXVW________, 2024:

               ORDERED, ADJUDGED AND DECREED as follows:

       1.      This District Court has jurisdiction over the subject matter of the above action and

has personal jurisdiction over the parties.

       2.      As used in this Consent Judgment, (i) the term “Inventia Product” shall mean the

drug product manufactured, sold, offered for sale or distributed pursuant to Abbreviated New Drug

Application No. 218760 (including any supplements, or modification or amendments thereto or

replacements thereof) (“Inventia’s ANDA”); (ii) the term “Licensed Firdapse Patents” shall mean

United States Patent Nos. 10,626,088 (“the ’088 Patent”), 10,793,893 (“the ’893 Patent”),
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11,060,128 (“the ’0128 Patent”), 11,268,128 (“the ’8128 patent”), 11,274,331 (“the ’331 Patent”),

and 11,274,332 (“the ’332 Patent”); and (iii) the term “Affiliate” shall mean any entity or person

that, directly or indirectly through one or more intermediaries, controls, is controlled by, or is under

common control with Inventia; for purposes of this definition, “control” means (a) ownership,

directly or through one or more intermediaries, of (1) more than fifty percent (50%) of the shares

of stock entitled to vote for the election of directors, in the case of a corporation, or (2) more than

fifty percent (50%) of the equity interests in the case of any other type of legal entity or status as

a general partner in any partnership, or (b) any other arrangement whereby an entity or person has

the right to elect a majority of the Board of Directors or equivalent governing body of a corporation

or other entity or the right to direct the management and policies of a corporation or other entity.

         3.    Unless otherwise specifically authorized by Catalyst and SERB pursuant to the

Settlement Agreement or by 35 U.S.C. § 271(e)(1), Inventia, including any of its Affiliates,

successors and assigns, is enjoined from infringing the Licensed Firdapse Patents, on its own part

or through any Affiliate, by making, having made, using, selling, offering to sell, importing or

distributing of the Inventia Product in the United States.

         4.    Compliance with this Consent Judgment may be enforced by Catalyst and SERB,

their successors in interest, or assigns, as permitted by the terms of the Settlement Agreement.

         5.    This District Court retains jurisdiction to enforce or supervise performance under

this Consent Judgment and the Settlement Agreement.

         6.    All claims, counterclaims, affirmative defenses and demands in this action are

hereby dismissed without prejudice and without costs, disbursements or attorneys’ fees to any

party.




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       7.     Nothing herein shall preclude the U.S. Food & Drug Administration from granting

final approval to Inventia’s ANDA No. 218760.


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                                                  United States District Judge




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We hereby consent to the form and entry of this Order:


Dated: July 31, 2024_                          Respectfully Submitted by:

By : s/ Charles H. Chevalier_____________      s/ Michael Cross________________________
Charles H. Chevalier                           MICHAEL CROSS
Gibbons P.C.                                   Chiesa Shahinian & Giantomasi PC
One Gateway Center                             105 Eisenhower Parkway
Newark, New Jersey 07102                       Roseland, New Jersey 07068
(973) 596-4611                                 973.530.2150
                                               mcross@csglaw.com
OF COUNSEL:
Dennies Varughese, Pharm. D.
Paul A. Ainsworth                              Stephen R. Auten
STERNE, KESSLER, GOLDSTEIN &                   Roshan P. Shrestha, Ph.D.
   FOX P.L.L.C.                                Taft Stettinius & Hollister
1100 New York Avenue NW, Suite 600             111 East Wacker Drive, 26th Floor
Washington, DC 20005                           Chicago, Illinois 60601
(202) 371-2600                                 sauten@taftlaw.com
                                               rshrestha@taftlaw.com
Attorneys for Plaintiffs
Catalyst Pharmaceuticals, Inc.
and SERB SA                                    Attorneys for Defendant
                                               Inventia Healthcare Limited




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